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     Federal Defender
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     Assistant Federal Defender
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5
6
     Attorney for Defendant
7    SONNY RUDY MARTINEZ
8
9
                          IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )      No. 2:06-cr-00101-MCE
14                                   )
                    Plaintiff,       )
15                                   )      REQUEST FOR ORDER AND ORDER
          v.                         )      EXONERATING BOND
16                                   )
     SONNY RUDY MARTINEZ,            )
17                                   )      Judge:    Hon. Morrison C.
                    Defendant.       )               England, Jr.
18                                   )
     _______________________________ )
19
20        On or about March 17, 2006, a $50,000 appearance bond, secured by
21   a deed of trust against the real property of Ramon L. Hernandez and
22   Mary Hernandez, husband and wife, and Oscar Sandoval, a single man, as
23   joint tenants, 6600 - 24th Street, Sacramento, California 95822, was
24   posted on behalf of defendant Sonny Rudy Martinez, in Case No. CR-S-06-
25   101-MCE.
26        Thereafter, on or about March 22, 2007, judgment was entered and
27   on March 30, 2007, Mr. Martinez self-surrendered to begin serving his
28   40-month sentence.
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1         It is hereby requested that the $50,000 secured appearance bond be
2    exonerated in the above-captioned matter and that the Clerk of the
3    United States Court for the Eastern District of California be directed
4    to reconvey back to the Trustors the deed of trust received by the
5    Clerk on or about March 17, 2006.
6    Dated:   May __, 2007
                                            Respectfully submitted,
7
                                            DANIEL J. BRODERICK
8                                           Federal Defender
9
10                                          ________________________________
                                            MATTHEW C. BOCKMON
11                                          Assistant Federal Defender
                                            Attorney for Defendant
12                                          SONNY RUDY MARTINEZ
13
14                                        ORDER
15        IT IS HEREBY ORDERED that the bond in the amount of $50,000.00
16   posted by Ramon L. Hernandez and Mary Hernandez, husband and wife, and
17   Oscar Sandoval, a single man, as joint tenants, and secured by a Deed
18   of Trust for their property located at 6600 - 24th Street, Sacramento,
19   California, is hereby exonerated and the Clerk of the District Court is
20   directed to reconvey back to the Trustors the deed of trust received by
21   the Clerk on or about March 17, 2006.
22
23   Dated: May 23, 2007

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                                          _____________________________
25
                                          MORRISON C. ENGLAND, JR.
26                                        UNITED STATES DISTRICT JUDGE

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